           Case 2:13-cv-01099-APG-VCF Document 139 Filed 01/12/21 Page 1 of 4



1    LISA A. RASMUSSE N, E SQ.
2    Neva da Ba r N o. 7491
     T h e L a w O ffi c e s o f Kr is t i n a
3    Wild e v e ld & As s o c ia t e s
4    550 E . Ch a r lest on Blvd, Su it e A
     La s Vega s, N V 89104
5    (702) 222-0007 | (702) 222-0001 (fa x)
6    Lisa @Veldla w.com
7

8
                             U N I T E D S T AT E S D I S T R I C T C O U R T
9

10
                                       D I S T R I C T O F N E VAD A

11

12
     RICH ARD ALLE N WALKE R,                            Ca se No.: 2:13-1099 AP G-VCF
13
                    P et it ion er ,
14
                                                         U N O P P O S E D MO T I O N O F T I ME
15   vs.                                                 T O F I L E R E P L Y T O S T AT E ’S
16                                                       R E S P O N S E T O R E MAI N I N G
     DWIGH T NE VE N, et a l,                            C L AI M
17
                    Respon den t s.
18                                                       (S E C O N D R E Q U E S T )

19
            P et it ion er Rich a r d Wa lker , by a n d t h r ou gh h is cou n sel, Lisa
20
     Ra sm u ssen , h er eby files t h is u n opposed Mot ion seekin g a n a ddit ion a l 21 da ys
21

22   t o file h is Reply t o t h e St a t e’s Respon se filed on Au gu st 28, 2020 [E CF 135.]
23
     Th is Mot ion is m a de a n d ba sed u pon t h e followin g:
24
            1.      P et it ion er ’s Reply is du e on t oda y’s da t e.
25

26          2.      P et it ion er pr eviou sly a sked for on e 77-da y ext en sion of t im e,
27
     wh ich t h e cou r t a ppr oved a n d t h is gen er a t ed t oda y’s du e da t e.
28
     UNOPPOSED MOTION OF TIME TO FILE REPLY TO STATE’S RESPONSE TO REMAINING CLAIM - 1
           Case 2:13-cv-01099-APG-VCF Document 139 Filed 01/12/21 Page 2 of 4



1              3.     Th e u n der sign ed n eeds a ddit ion a l t im e t o r eview t h e ext en sive
2
     r ecor d in t h is ca se in or der t o be a ble t o r espon d a n d discu ss cer t a in fa ct s
3

4    t h a t lie wit h in t h e r ecor d.

5
               4.     Th e u n der sign ed h a s sever a l la r ge it em dea dlin es t h is week
6
     in clu din g a Reply br ief in Willin g v. Willia m s, 2:14-cv-1194 RF B, a lso a 2254
7

8    m a t t er , du e on J a n u a r y 15, 2021; a n d a Reply br ief t o a Mot ion t o Recon sider
9
     a n or der dism issin g a n a ct ion in st a t e cou r t ba sed on N eva da ’s An t i-SLAP P
10
     m ot ion , com bin ed wit h a n Opposit ion t o Br own st ein , H ya t t , F a r ber a n d
11

12   Sch r eck’s m ot ion for $700,000 in a t t or n ey’s fees ba sed on t h e An t i-SLAP P
13
     st a t u t e. Th ese a r e du e on J a n u a r y 14, 2021. F or e St a r s v. Om er za , et a l,
14

15
     E igh t h J u dicia l Dist r ict Cou r t .

16             5.     Th e st a t e is n ot opposed t o t h is r equ est for a 21-da y ext en sion of
17
     t im e.
18

19             6.     Mr . Wa lk er is ser vin g a life wit h ou t pa r ole sen t en ce a n d h e is n ot

20   pr eju diced by t h is ext en sion of t im e, bu t wou ld be pr eju diced if t h is r equ est
21
     wer e den ied. Addit ion a lly, t h is r equ est is n ot m a de for t h e pu r pose of dela y
22

23   or in ba d fa it h .
24
               Accor din gly, it is r espect fu lly r equ est ed t h a t t h is Cou r t gr a n t a n
25
     a ddit ion a l ext en sion of t im e, a m ou n t in g t o 21 da ys, for Mr . Wa lker t o file h is
26

27   Reply, or u n t il F ebr u a r y 1, 2021.
28
     UNOPPOSED MOTION OF TIME TO FILE REPLY TO STATE’S RESPONSE TO REMAINING CLAIM - 2
           Case 2:13-cv-01099-APG-VCF Document 139 Filed 01/12/21 Page 3 of 4



1           A pr oposed or der a ppea r s below for t h is Cou r t ’s con ven ien ce.
2

3                   Da t ed t h is 11 t h da y of J a n u a r y, 2021.
4

5                           T h e L a w O ffi c e s o f Kr is t i n a Wild e v e ld & As s o c ia t e s

6                                                         / s/ Lisa A. Ra sm u ssen
7                                                   ____________________________________
                                                    LISA A. RASMUSSE N, E SQ.
8
                                                    Neva da Ba r N o. 7491
9                                                   At t or n eys for Rich a r d Wa lker
10

11                                 C E R T I F I C AT E O F S E R VI C E
12
                    I H E RE BY CE RTIF Y t h a t I ser ved a copy of t h e for egoin g,
13
     Mot ion for E OT, u pon a ll per son s r egist er ed t o r eceive CM/E CF ser vice in t h e
14

15   a bove-en t it led ca se, a s r equ ir ed by loca l r u le, in clu din g, bu t n ot lim it ed t o:
16
                    Ms. Ka t r in a Sa m u els, DAG
17
                    Da t ed t h is 11 t h da y of J a n u a r y, 2021.
18

19

20
                                                            / s/ Lisa A. Ra sm u ssen
21

22                                                       LISA A. RASMUSSE N, E SQ.

23

24

25

26

27

28
     UNOPPOSED MOTION OF TIME TO FILE REPLY TO STATE’S RESPONSE TO REMAINING CLAIM - 3
          Case 2:13-cv-01099-APG-VCF Document 139 Filed 01/12/21 Page 4 of 4



1

2
                       O R D E R G R AN T I N G E XT E N S I O N O F T I ME
3

4           GOOD CAUSE AP P E ARING, a n d ba sed u pon t h e n on -opposit ion of t h e

5    Respon den t ,
6
            IT IS H E RE BY ORDE RE D t h a t P et it ion er sh a ll h a ve u n t il F ebr u a r y
7

8    11, 2021 t o file h is Reply t o t h e St a t e’s Respon se.
9
     Da t ed: _______________
               January 12, 2021
10

11

12                                       ___________________________________
                                         Th e H on or a ble An dr ew P . Gor don
13
                                         Un it ed St a t es Dist r ict J u dge
14

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28
     UNOPPOSED MOTION OF TIME TO FILE REPLY TO STATE’S RESPONSE TO REMAINING CLAIM - 4
